

Matter of Attorneys in Violation of Judiciary Law § 468-a (Quinn) (2022 NY Slip Op 02854)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Quinn)


2022 NY Slip Op 02854


Decided on April 28, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:April 28, 2022

PM-93-22
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Edel Marie Quinn, Respondent. (Attorney Registration No. 4846101.)

Calendar Date:April 11, 2022

Before:Lynch, J.P., Clark, Reynolds Fitzgerald, Colangelo and Ceresia, JJ. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.
Edel Marie Quinn, Dublin, Ireland, respondent pro se.



Motion by respondent for an order reinstating her to the practice of law following her suspension by October 2021 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 198 AD3d 1068, 1084 [2021]; see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's affidavit with exhibits sworn to February 21, 2022, and the April 6, 2022 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has complied with the order of suspension and the Rules of this Court, (2) respondent has the requisite character and fitness to practice law, and (3) it would be in the public interest to reinstate respondent to the practice of law (see Matter of Attorneys in Violation of Judiciary Law § 468-a [Cajiao], 200 AD3d 1292, 1292 [2021]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law in the State of New York, effectively immediately.
Lynch, J.P., Clark, Reynolds Fitzgerald, Colangelo and
Ceresia, JJ., concur.








